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 1   JaVonne M. Phillips, Esq. SBN 187474
     Jennifer C. Wong, Esq. SBN 246725
 2   McCARTHY & HOLTHUS, LLP
 3   2763 Camino Del Rio South, Suite 100
     San Diego, CA 92108
 4   Phone (877) 369-6122
     Fax (619) 685-4811
 5
     bknotice@mccarthyholthus.com
 6
     Attorneys for
 7   Nationstar Mortgage LLC d/b/a Mr. Cooper, its assignees and/or successors
 8
 9
10                                UNITED STATES BANKRUPTCY COURT
11                                CENTRAL DISTRICT OF CALIFORNIA
12                                       RIVERSIDE DIVISION
13
     In re:                                         )   Case No. 6:21-bk-12828-SY
14                                                  )
15                                                  )   Chapter 7
                                                    )
16   Christian Villafan,                            )   NOTICE OF DEBTOR’S REQUEST FOR
                                                    )   FORBEARANCE DUE TO THE COVID-19
17
                                                    )   PANDEMIC
18                                                  )
                        Debtor.                     )
19                                                  )   Judge: Scott H. Yun
20                                                  )
                                                    )
21
22            Now comes Nationstar Mortgage LLC d/b/a Mr. Cooper (“Creditor”), by and through
23   undersigned counsel, and hereby submits this Notice to the Court of the Debtor’s request for
24   mortgage payment forbearance based upon a material financial hardship caused by the COVID-
25   19 pandemic.
26            The Debtor recently contacted Creditor requesting a forbearance period of 9 months and
27   has elected to not tender mortgage payments to Creditor that would come due on the mortgage
28   starting 10/01/2020 through 06/01/2021. Creditor holds a secured interest in real property
29   commonly known as 13036 Ojai Road, Apple Valley, CA 92308. Creditor, at this time, does not
                                                    1
     File No. CA-21-165829                                                    Case No. 6:21-bk-12828-SY
                                                                                   Notice of Forbearance
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 1   waive any rights to collect the payments that come due during the forbearance period. If the
 2   Debtor desires to modify the length of the forbearance period or make arrangements to care for
 3   the forbearance period arrears, Creditor asks that the Debtor or Counsel for the Debtor make
 4   those requests through undersigned counsel.
 5          Per the request, Debtor will resume Mortgage payments beginning 07/01/2021 and will
 6   be required to cure the delinquency created by the forbearance period (hereinafter “forbearance
 7   arrears”). Creditor has retained undersigned counsel to seek an agreement with Debtor regarding
 8   the cure of the forbearance arrears and submit that agreement to the Court for approval. If Debtor
 9   fails to make arrangements to fully cure the forbearance arrears, Creditor reserves it rights to
10   seek relief from the automatic stay upon expiration of the forbearance period.
11
12                                                    Respectfully submitted,
                                                      McCARTHY & HOLTHUS, LLP
13   DATED: 6/4/2021
14
15                                                       By: /s/ Jennifer C. Wong
                                                             Jennifer C. Wong, Esq.
16                                                           Attorneys for Nationstar Mortgage LLC
                                                             d/b/a Mr. Cooper, its assignees and/or
17
                                                             successors
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     File No. CA-21-165829                                                    Case No. 6:21-bk-12828-SY
                                                                                   Notice of Forbearance
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                                                                                                                             M&H File No. CA-21-165829



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                                             2763 Camino Del Rio S., Suite 100
                                                   San Diego, CA 92108

A true and correct copy of the foregoing document entitled (specify): NOTICE OF DEBTOR’S REQUEST FOR
FORBEARANCE DUE TO THE COVID-19 PANDEMIC will be served or was served (a) on the judge in chambers in the
form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
6/4/2021, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

  TRUSTEE                                             DEBTOR(S) COUNSEL                                    US TRUSTEE
  Karl T Anderson (TR)                                James D. Hornbuckle                                  ustpregion16.rs.ecf@usdoj.gov
  2edansie@gmail.com                                  jdh@cornerstonelawcorp.com



                                                                                             Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 6/4/2021, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.

DEBTOR(S)
Christian Villafan, 13036 Ojai Rd, Apple Valley, CA 92308



                                                                                             Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                             Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 6/4/2021                       Hue Banh                                                        /s/ Hue Banh
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
